Fill in this information to identifi

 

 

 

 

 

 

 

 

 

Debtor 1 Deborah Vanessa Love
First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: NORTHERN DISTRICT OF INDIANA [_] Check if this is an amended plan, and
list below the sections of the plan that
Case number: have been changed.
(If known)
Official Form 113
Chapter 13 Plan 12/17
wise Notices
To Debtor(s): This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not

indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
do not comply with local rules and judicial rulings may not be confirmable.

In the following notice to creditors, you must check each box that applies

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
an attorney, you may wish to consult one.

If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
alsCourt. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.

The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision
will be ineffective if set out later in the plan.

 

 

 

 

1.1 A limit on the amount of a secured claim, set out in Section 3.2, which may result in |[¥] Included [_] Not Included
a partial payment or no payment at all to the secured creditor

1.2 Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, |[¥] Included | Not Included
set out in Section 3.4.

1.3 Nonstandard provisions, set out in Part 8. [_] Included [¥] Not Included

 

 

 

 

 

Plan Payments and Length of Plan
2.1 Debtor(s) will make regular payments to the trustee as follows:

$2,423.08 per Bi-Weekly for 60 months

Insert additional lines if needed.

If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
payments to creditors specified in this plan.

2.2 Regular payments to the trustee will be made from future income in the following manner.

Check all that apply:

Iv] Debtor(s) will make payments pursuant to a payroll deduction order.
LC] Debtor(s) will make payments directly to the trustee.

CO Other (specify method of payment):

2.3 Income tax refunds.
Check one.
LC Debtor(s) will retain any income tax refunds received during the plan term.

APPENDIX D Chapter 13 Plan Page |
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Oo Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
return and will turn over to the trustee all income tax refunds received during the plan term.

Iv] Debtor(s) will treat income refunds as follows:
Debtors will turn over to the Trustee combined tax refunds in excess of $750.00 received during the first
three (3) years of the plan, in any year Debtor's income exceeds $25,000, to be used as a dividend to
unsecured creditors. This does not include the earned income credit or the child tax credit

2.4 Additional payments.
Check one.
lv] None. /f “None” is checked, the rest of § 2.4 need not be completed or reproduced.

2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $315,000.00.

LERESEE Treatment of Secured Claims

3.1 Maintenance of payments and cure of default, if any.

Check one.

CO None. /f “None” is checked, the rest of § 3.1 need not be completed or reproduced.

lv] The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes
required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either
by the trustee or directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through
disbursements by the trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on
a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below
as to the current installment payment and arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated
below are controlling. If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless
otherwise ordered by the court, all payments under this paragraph as to that collateral will cease, and all secured claims based on
that collateral will no longer be treated by the plan. The final column includes only payments disbursed by the trustee rather than

 

 

by the debtor(s).
Name of Creditor Collateral Current installment Amount of Interest rate Monthly payment Estimated
payment arrearage (ifany) onmarrearage on arrearage total
(including escrow) (if applicable) payments by
trustee
468 E 60th Place
Merrillville, IN
46410 Lake
County
Chase Rented out to Prepetition:
Mortgage family member $545.00 $545.00 0.00% $36.33 $33,245.00
Disbursed by:
|v] Trustee
[_] Debtor(s)
12483
Washington
Home Point Street Crown
Financial Point, IN 46307 Prepetition:
Corporation Lake County $2,912.00 $5,824.00 0.00% Prorata $180,544.00
Disbursed by:
Iv] Trustee

[_] Debtor(s)

Insert additional claims as needed.
3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

LC None. /f “None” is checked, the rest af § 3.2 need not be completed or reproduced.
The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

lv] The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured
claim listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of

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Debtor Deborah Vanessa Love Case number
secured claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim
listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each
listed claim, the value of the secured claim will be paid in full with interest at the rate stated below.
The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5
of this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be
treated in its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the
creditor’s total claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.
The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the
property interest of the debtor(s) or the estate(s) until the earlier of:
(a) payment of the underlying debt determined under nonbankruptcy law, or
(b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.
Name of Estimated Collateral Value of Amount of Amount of
creditor amount of collateral claims senior secured claim
creditor's to creditor's
total claim claim
Regency
Park
Town
Homes $500.00 $58,000 $0.00 $500

Interest Monthly Estimated
rate payment to total of
creditor monthly
payments
0.00% Prorata $0.00

 

Insert additional claims as needed.
3.3

Check one.

lv)
3.4 Lien avoidance.

Check one.

CO

Secured claims excluded from 11 U.S.C. § 506.

None. /f “None” is checked, the rest of § 3.3 need not be completed or reproduced.

None. /f “None” is checked, the rest of § 3.4 need not be completed or reproduced.

The remainder of this section will be effective only if the applicable box in Part 1 of this plan is checked

Iv

The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to

which the debtor(s) would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the court, a judicial lien or
security interest securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the
order confirming the plan. The amount of the judicial lien or security interest that is avoided will be treated as an unsecured
claim in Part 5 to the extent allowed. The amount, if any, of the judicial lien or security interest that is not avoided will be paid in
full as a secured claim under the plan. See 11 U.S.C. § 522(f) and Bankruptcy Rule 4003(d). /fmore than one lien is to be
avoided, provide the information separately for each lien.

Information regarding judicial
lien or security interest

Name of Creditor
Midland Funding LLC

Collateral

12483 Washington Street
Crown Point, IN 46307 Lake
County

Lien identification (such as
judgment date, date of lien
recording, book and page number)
Judgment
Lien,45D02-1205-CC-000373

 

 

Official Form 113

Calculation of lien avoidance
a. Amount of lien

b. Amount of all other liens
c. Value of claimed exemptions

d. Total of adding lines a, b, and c

e. Value of debtor(s)' interest in

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Treatment of remaining secured
claim

 

$11,128.00 Amount of secured claim after
avoidance (line a minus line f)

$374,645.00

$19,300.00

property -$372,000.00

Chapter 13 Plan

$405,073.00

 

Interest rate (if applicable)
%

Monthly plan payment on
secured claim

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Information regarding judicial Calculation of lien avoidance Treatment of remaining secured
lien or security interest claim

6/13/2012 f. Subtract line e from line d. $33,073.00

Extent of exemption impairment
(Check applicable box):
[¥] Line fis equal to or greater than line a. Estimated total payments on
secured claim
The entire lien is avoided (Do not complete the next column)

 

[] Line f is less than line a.
A portion of the lien is avoided. (Complete the next column)

 

 

Insert additional claims as needed.
3.5 Surrender of collateral.

Check one.
lv] None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

Treatment of Fees and Priority Claims

41 General
Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
without postpetition interest.

4.2 Trustee’s fees
Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 4.00% of plan payments; and
during the plan term, they are estimated to total $12,600.00.

43 Attorney's fees.
The balance of the fees owed to the attorney for the debtor(s) is estimated to be $3,500.00.

4.4 Priority claims other than attorney’s fees and those treated in § 4.5.

Check one.
lv] None. /f “None” is checked, the rest of § 4.4 need not be completed or reproduced.

4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

Check one.
lv) None. /f “None” is checked, the rest of § 4.5 need not be completed or reproduced.

ues Treatment of Nonpriority Unsecured Claims
5.1 Nonpriority unsecured claims not separately classified.

Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
providing the largest payment will be effective. Check all that apply.

The sum of $

___% of the total amount of these claims, an estimated payment of $ ‘

The funds remaining after disbursements have been made to all other creditors provided for in this plan.

SOO

If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $0.00.
Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

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lv] None. /f “None” is checked, the rest of § 5.2 need not be completed or reproduced.
5.3 Other separately classified nonpriority unsecured claims. Check one.
Vv] None. /f “None” is checked, the rest of § 5.3 need not be completed or reproduced.

Executory Contracts and Unexpired Leases

6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
contracts and unexpired leases are rejected. Check one.

Iv] None. /f “None” is checked, the rest of § 6.1 need not be completed or reproduced.

Vesting of Property of the Estate

7.1 Property of the estate will vest in the debtor(s) upon
Check the appliable box:
plan confirmation.
[¥] entry of discharge.
other:

 

iiveswee Nonstandard Plan Provisions

8.1 Check "None" or List Nonstandard Plan Provisions
a None. [f “None” is checked, the rest of Part 8 need not be completed or reproduced.

Signature(s):

   

NAIL x

ign below, A
meron L
\_ Deboem Vanessa Love Signature of Debtor 2
ignature of Debtor |

ZXQ on 7 iz L6// 7 Executed on

KZA pate P/O/¢ P
ristopher Schmidgéall
Signature of Attorney for Debtor(s)

  

 

By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any nonstandard provisions
included in Part 8.

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Exhibit: Total Amount of Estimated Trustee Payments

The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set
out below and the actual plan terms, the plan terms control.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a. Maintenance and cure payments on secured claims (Part 3, Section 3.1 total) $213,789.00
b. Modified secured claims (Part 3, Section 3.2 total) $0.00
c. Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total) $0.00
d. Judicial liens or security interests partially avoided (Part 3, Section 3.4 total) $0.00
e. Fees and priority claims (Part 4 total) $16,100.00
f. Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount) $17,278.60
g. Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total) $0.00
h. Separately classified unsecured claims (Part 5, Section 5.3 total) $0.00
i. Trustee payments on executery contracts and unexpired leases (Part 6, Section 6.1 total) $0.00
j. Nonstandard payments (Part 8, total) + $0.00
Total of lines a through j $247,167.60
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